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                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

    IN RE:                                 §
                                           §    Case No. 24-10120-smr
    TEXAS REIT, LLC,                       §
                                           §    Chapter 11
           Debtor.                         §

                                           §
    WCW HOUSTON PROPERTIES,                §
    LLC,                                   §
                                           §
          Plaintiff,                       §    Adversary No. 24-01045-smr
                                           §
    v.                                     §
                                           §
    TEXAS REIT, LLC; DALIO                 §
    HOLDINGS I, LLC, and DALIO             §
    HOLDINGS II, LLC                       §
                                           §
          Defendants.                      §

   PLAINTIFF’S MOTION TO DISMISS (I) DALIO HOLDINGS I, LLC’S AND
   DALIO HOLDINGS II, LLC’S ORIGINAL COUNTERCLAIM, DOCKET NO.
   84; AND (II) TEXAS REIT, LLC’S ORIGINAL COUNTERCLAIM, DOCKET
                                  NO. 71

  THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
  YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
  CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
  AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
  RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
  FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS O F T H E D AT E
  TH I S WA S SERVED O N YOU. YOUR RESPONSE MUST STATE WHY
  THE MOTION SHOULD NOT BE GRANTED.

  IF Y O U D O N O T F I L E A T I M E LY RESPONSE, T H E R E LIE F M A Y
  B E GRANTED WITHOUT FURTHER NOTICE TO YOU. I F YOU
  OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
  YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
  OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
  HEARING AND M AY DECIDE THE MOTION AT THE HEARING.

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  REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY

           Plaintiff WCW Houston Properties, LLC (“WCW”) files this Motion to Dismiss

  (I) Dalio Holdings I, LLC’s and Dalio Holdings II, LLC’s Original Counterclaim,

  Docket No. 84; and (II) Texas REIT, LLC’s Original Counterclaim, Docket No. 71

  under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) as made applicable to

  this Adversary under Federal Rule of Bankruptcy Procedure 7012(b). 1

                                      Summary of Relief Requested

           WCW requests that the court enter an order dismissing the Defendants’

  counterclaims because 1) they violate 28 U.S.C. § 1738 as they seek to violate a state

  appellate court’s judgment dictating the scope of the issues to be determined in this

  case; and 2) neither Defendant has pleaded a viable claim for equitable subordination

  as neither have pleaded harm to the debtor or its creditors.

           WCW further seeks an order dismissing the Debtor’s claims for additional

  reasons. First, the Debtor’s claim for real estate fraud is subject to an absolute bar

  under res judicata. The Debtor asserted identical claims based on the same facts in

  the underlying state court case. WCW obtained summary judgement on this claim,

  and this part of the judgment was affirmed by the court of appeals and not remanded.

  Second, the Debtor’s claim for real estate fraud is barred by limitations as the

  Debtor’s claim for real estate fraud is subject to a four-year statute of limitations. The




  1 This same document is being filed twice because there are overlapping issues.   Counsel for WCW attempted to
  link the filing to the respective counterclaim.

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  Debtor alleges WCW committed fraud in 2018, and the Debtor did not file its

  counterclaims until 2024.

         WCW further seeks dismissal of Dalio Holdings I, LLC’s (“Dalio”) claim for

  equitable subordination because Dalio lacks standing to assert such a claim. Dalio

  seeks equitable subordination of WCW’s claim based upon a general injury to the

  Debtor or its unsecured creditors rather than a particularized injury to itself. Dalio

  lacks standing to assert such a claim as a matter of law.

                                      Background

         This case was originally filed on May 25, 2017, in the District Court of Harris

  County, Texas 151st Judicial District (the “State Court Case”). Texas REIT, LLC

  (“Texas REIT”) was the original defendant at the time of filing.

         On May 31, 2018, the Debtor filed its Cross-Plaintiff’s Original Petition, and

  Verified Application for Temporary Restraining Order And For Temporary And

  Permanent Injunctions. See Docket No 73, Part 2 p. 14-25. In this pleading, Texas

  REIT accused WCW, its manager Steve Wu, and a litany of other individuals, of

  participating in a scheme in which Mr. Wu used the entities Fondren Dashwood LLC

  and the Wu Family Trust to make false offers to purchase the Debtor’s property to

  obtain the Debtor’s confidential information, such as the identity of the Debtor’s

  lienholders. The Debtor further claims that WCW improperly used this confidential

  information to acquire the second priority lien and then attempt to foreclose that lien.




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         On July 1, 2022, WCW filed a motion for summary judgment on all of the

  Debtor’s counterclaims against it in the State Court Case. See Docket No. 80, Part 2,

  p. 1-19.

         On July 19, 2022, the Debtor filed its response to WCW’s Motion for Summary

  Judgment. See Docket 81, Part 2, p. 66-79.

         On July 30, 2022, the state court entered interlocutory summary judgment in

  favor of WCW and against the Debtor on all of the Debtor’s counterclaims. See Docket

  81, Part 2, p. 530.

         On August 7, 2022, the state court entered final summary judgment on all

  claims in favor of WCW and against the Debtor. See Docket 81, Part 2, p. 558-577.

         On November 4, 2022, the Debtor filed its notice of appeal. See Docket 81, Part

  2, p. 721-723

          On February 6, 2024, Texas REIT filed for bankruptcy protection under

  Chapter 11 of Title 11 of the United States Code.

         On June 6, , 2024, the Fourteenth Court of Appeals issued an order partially

  reversing the judgment of the trial court and remanding the case for further

  proceedings (the “Remand Order”). See Docket 83, Part 2, p. 108. The court limited

  its remand to the amount of WCW’s claim against the Debtor and whether to

  subordinate the debt of Dalio Holdings I, LLC to the debt of WCW. Id. Notably, the

  court’s judgment did not remand the portion of the case dealing with the Debtor’s

  counterclaims. Indeed, the appellate court affirmed all other aspects of the trial




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  court’s judgment and severed them from the remanded issues. Accordingly, the trial

  court’s judgment is final and non-appealable as it relates to the counterclaims

          On July 5, 2024, WCW removed this case to the Bankruptcy Court for the

  Southern District of Texas, Houston Division in Adversary No. 24-03136.

         On August 8, 2024, the Bankruptcy Court in the Southern District transferred

  the Adversary to this court.

         On November 18, 2024, WCW filed its Original Complaint in this Adversary.

  With very few exceptions, WCW’s pleadings in the Adversary mirror its pleadings in

  the State Court Case.

         On December 17, 2024, the Debtor filed its Answer in this Adversary. The

  Answer contains counterclaims. This counterclaim blatantly reasserts the Debtor’s

  claim against WCW for real estate fraud which the trial court in the State Court Case

  had already decided in WCW’s favor. The Debtor also asserts a claim to equitably

  subordinate WCW’s claim to all other secured claims based upon the same allegation

  of WCW committing fraud through the use of false offers to purchase the Debtor’s

  property through Fondren Dashwood and the Wu Family Trust.

         Also on December 17, 2024, Dalio filed its Answer in this Adversary. Dalio

  also asserts a claim for equitable subordination based upon the same allegations

  contained in the Debtor’s counterclaims.

                             Arguments and Authorities

         The court should enter an order dismissing the Defendants’ counterclaims for

  several reasons. First, the Defendants’ counterclaims should all be dismissed because



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  they exceed the scope of this Adversary as prescribed by the order remanding this

  case to the state trial court prior to removal of the case to this court. Thus, the

  Defendants’ claim each violate the Full Faith and Credit Act. Second, the Defendants’

  claims fail to provide allegations sufficient to establish a claim for equitable

  subordination of WCW’s secured claim because they fail to establish any harm to the

  Debtor or its unsecured creditors. Instead, the Defendants allege only harm that

  could have occurred but did not. Third, the Debtor’s counterclaim for real estate fraud

  is barred by both res judicata and the relevant statute of limitations. Finally, the

  court should dismiss Defendant Dalio’s claim for equitable subordination as it lacks

  standing to assert it.   For these reasons, the court should dismiss each of the

  Defendants’ counterclaims.

  I.     The Federal Rules of Civil and Bankruptcy Procedure provide for
         dismissal of claims for which the trial court lacks subject matter
         jurisdiction, or which fail to state a cause of action.

          The Federal Rules of Civil Procedure provide for dismissal of claims for either

  lack of subject matter jurisdiction or for failure to state a claim. More specifically,

  Federal Rule of Civil Procedure 12(b)(1) provides for dismissal of claim upon motion

  when the trial court lacks subject matter jurisdiction.      FED. R. CIV. P. 12(b)(1).

  Similarly, Rule 12(b)(6) provides for dismissal of a claim when the plaintiff’s

  complaint fails to state a cause of action. FED. R. CIV. P. 12(b)(6). Both rules are

  made applicable to adversary proceedings under Federal Rule of Bankruptcy

  Procedure 7012. FED. R. BANKR. P. 7012(b).

          In deciding a motion to dismiss for lack of subject matter jurisdiction under

  Federal Rule of Civil Procedure 12(b)(1), “the district court is ‘free to weigh the

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  evidence and resolve factual disputes in order to satisfy itself that it has the power to

  hear the case.’ ” Krim v. pcOrder.com, Inc., 402 F.3d 489, 494 (5th Cir. 2005). In

  weighing the evidence, the court may rely on the complaint by presuming the

  allegations in the complaint to be true or by supplementing the complaint with

  undisputed facts. Norske Stats Oljeselskap As v. HeereMac Vof, 241 F.3d 420, 424 (5th

  Cir. 2001). The party asserting jurisdiction must carry the burden of proving the

  existence of subject matter jurisdiction to survive a Rule 12(b)(1) motion to dismiss.

  Randall D. Wolcott, M.D., P.A. v. Sebelius, 635 F.3d 757, 762 (5th Cir. 2011). The

  standard of review for a motion to dismiss under Rule 12(b)(1) is the same as that for

  a motion to dismiss pursuant to Rule 12(b)(6). United States v. City of New Orleans,

  No. 02-3618, 2003 WL 22208578, at *1 (E.D. La. Sept. 19, 2003).

          To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead enough

  facts to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

  U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 547 (2007)).

  A claim is facially plausible when the plaintiff pleads facts that allow the court to

  “draw the reasonable inference that the defendant is liable for the misconduct

  alleged.” Id. A court must accept all well-pleaded facts as true and must draw all

  reasonable inferences in favor of the plaintiff. Lormand v. U.S. Unwired, Inc., 565

  F.3d 228, 232-33 (5th Cir. 2009); Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996).

  The court is not, however, bound to accept as true legal conclusions couched as factual

  allegations. Iqbal, 556 U.S. at 678.




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  II.    The Court should dismiss all of the Defendants’ counterclaims
         because they exceed the scope of the remand order and thus violate
         the Full Faith and Credit Act.

         The court should dismiss each of the Defendants’ counterclaims because they

  exceed the scope of the remand order issued by the Texas Fourteenth Court of Appeals

  prescribing a remand of certain limited issues.       The Full Faith and Credit Act

  prohibits this and effectively divests the court of subject matter jurisdiction.

         The Full Faith and Credit Clause of the Constitution and its enabling statute,

  28 U.S.C. § 1738, “create[ ] a rule of decision to govern the preclusive effect of final,

  binding adjudications from one state court or tribunal when litigation is pursued in

  another state or federal court.” Adar v. Smith, 639 F.3d 146, 151 (5th Cir. 2011) (en

  banc). They “require[ ] federal courts to give the same preclusive effect to state court

  judgments that those judgments would be given in the courts of the State from which

  the judgments emerged.” Donley v. Hudsons Salvage, L.L.C., 517 Fed.Appx. 216, 220

  (5th Cir. 2013) (per curiam) (quoting Kremer v. Chem. Constr. Corp., 456 U.S. 461,

  466 (1982)). The preclusive effect given to a state court judgment is determined by

  reference to the preclusion law of the state that rendered the judgment. Id.

         The Remand Order limits the scope of the trial in this case. This is largely

  because the Debtor did not seek to reverse the trial court’s judgment on its

  counterclaims. See Debtor’s Appellate Brief attached as Exhibit 1. Consequently,

  when the Fourteenth Court of Appeal issued the Remand Order it expressly did not

  remand the counterclaims:




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  See Docket 83, Part 2, p. 108. Indeed, the Court of Appeals affirmed all issues other

  than the amount of WCW’s damages and whether Dalio’s claim should be equitably

  subordinated. Id.

         The Remand Order is a valid order of the state court. Accordingly, it is entitled

  to full faith and credit under 28 U.S.C. 1738. The Defendants’ counterclaims exceed

  the scope of the Remand Order. The court therefore lacks subject matter jurisdiction

  to consider these counterclaims. Accordingly, the court should dismiss each of the

  Defendants’ counterclaims.

  III.   The court should dismiss the Debtor’s claim for real estate fraud
         because it is barred by both res judicata and the statute of limitations.

         The court should dismiss the Debtor’s claim for fraud in a real estate

  transaction because it is barred by both res judicata and the relevant four-year

  statute of limitations.

         A.       The Debtor’s claim for real estate fraud is barred by res judicata.

         The Debtor’s claim for fraud in a real estate transaction is indisputably barred

  by res judicata. In the State Court Case, the Debtor specifically pled a claim for real


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  estate fraud based upon WCW’s alleged attempt to acquire the Debtor’s confidential

  information through false offers to purchase its property:




  See Docket No 73, Part 2 p. 14-25..


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         These are the very same allegations contained in the Debtor’s counterclaim:




  See Debtor’s Original Answer and Counterclaim at p. 5.

         This claim has been fully and finally litigated in WCW’s favor. On July 1, 2022,

  WCW filed a motion for summary judgment on all of the Debtor’s counterclaims

  against it in the State Court Case. See Docket 80, Part 2, p. 1-19. This expressly

  included the Debtor’s claim for fraud. Id p 7-11. The trial court granted WCW

  summary judgment on all of the Debtor’s counterclaims on July 30, 2022:




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  See Docket 81, Part 2, p. 530. The trial court affirmed its decision in a final

  judgment in favor of WCW on August 7, 2022. See Docket 81, Part 2, p. 558-577.

         After this judgment, the Debtor filed a notice of appeal. See Docket 81, Part 2,

  p. 721-723. However, on appeal, the Debtor did not even attempt to obtain reversal

  of the judgment as it relates to its counterclaims. See Exhibit 1. Consequently, when

  the Fourteenth Court of Appeal issued its order partially reversing and remanding

  the State Court Case, it expressly did not remand the counterclaims:




  See Docket 83, Part 2, p. 108. Indeed, the Court of Appeals affirmed all issues other

  than the amount of WCW’s damages and whether Defendant Dalio’s claim should be

  equitably subordinated. Id.

         The Debtor’s counterclaim seeks to relitigate a claim that is subject to an

  absolute bar from res judicata. The Debtor was a party to, and actively participated

  in the adjudication of this claim. Accordingly, it cannot claim it was unaware of the

  state court judgment. The court should therefore dismiss the Debtor’s fraud claim.




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         B.       The Debtor’s fraud claim is barred by the statute of limitations.

         The court should dismiss the Debtor’s fraud claim because it is barred by the

  statute of limitations. Indeed, the Debtor’s fraud claim is subject to a four-year

  statute of limitations and the Debtor has asserted claims based on transactions that

  its own pleadings allegedly occur at least six years ago.

         The Debtor’s fraud claim is subject to a four-year statute of limitations.

  Statutory fraud under Section 27.01 of the Texas Business & Commerce Code, which

  is often referred to as “fraud in a real estate transaction” is governed by a four-year

  statute of limitations. See Val-Com Acquisitions Trust v. Citimortgage, Inc., 2010 WL

  40647901        *3   (N.D.    Tex    2010)(“as    to   plaintiff's   claim    for fraud in

  a real estate transaction pursuant to section 27.01 of the Texas Business and

  Commerce Code, such a claim is governed by a four-year statute of limitations.”); see

  also Ford v. Exxon Mobil Chem. Co., 235 S.W.3d 615, 617 (Tex.2007) (applying four-

  year limitations period to claims under Tex. Bus. & Com. Code § 27.01). Similarly,

  common law fraud is also subject to a four-year statute of limitations. Sivertson v.

  Citibank, N.A., 390 F.Supp. 769, 782 (E.D. Tex. 2019)(“the statute of limitations for

  a common law fraud claim is four years”); see also TEX. CIV. PRAC. & REM. CODE

  16.004 (a)(4).

         The Debtor’s own pleadings establish that its fraud claim is obviously time-

  barred. The Defendant’s counterclaim allege that WCW committed its fraudulent

  acts between January 19, 2018 and April 14, 2018. See Debtor’s Answer, ¶¶ 66-70.

  Accordingly, the Debtor’s cause of action would become barred by April 14, 2022. The

  Debtor filed its counterclaims in this case in December 2024.           Accordingly, the

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  Debtor’s fraud claim is barred by the statute of limitations.         The court should

  therefore dismiss the Debtor’s fraud claim.

  IV.    The Debtor’s Counterclaim fails to state a cause of action for fraud in
         a real estate transaction.

         The court should dismiss the Debtor’s claim for fraud in a real estate

  transaction because it fails to state a claim for fraud in a real estate transaction.

         Section 27.01(a) of the Texas Business and Commerce Code creates a statutory

  cause of action for fraud in a real estate transaction. See TEX. BUS. & COM. CODE §

  27.01(a). Tukua Invs., LLC v. Spenst, 413 S.W.3d 786, 796 (Tex. App.—El Paso 2013).

  Fraud in a real estate transaction occurs if: (1) a person makes a false representation

  of a past or existing material fact in a real estate transaction to another person for

  the purpose of inducing the making of a contract; and (2) the false representation is

  relied on by the person entering into the contract. Id. A “transaction” occurs when

  there is a sale or a contract to sell real estate or stock between the

  parties. See Nolan, 577 S.W.2d at 556; Burleson, 27 S.W.3d at 611.

         The Debtor’s claim fails as a matter of law because it does not allege that WCW

  fraudulently induced the Debtor into a contract for the sale of real estate or stock.

  Instead, the Debtor alleges that third parties supposedly controlled by WCW, induced

  the Debtor into a contract in which the Debtor provided WCW confidential

  information regarding its property. See Debtor’s Counterclaims ¶¶ 73. Nowhere does

  the Debtor allege that WCW induced it into a contract for or the actual sale of real

  property or stock. Accordingly, the Debtor’s Counterclaims fail to state a cause of




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  action for fraud in a real estate transaction. Accordingly, the court should dismiss

  this claim with prejudice.

  V.     The Defendants’ Counterclaims for Equitable Subordination Fail
         Under Rule 12(b)(6) as both Defendants fail to plead how WCW’s
         alleged conduct created any harm to the Debtor or its creditors.

         The court should dismiss the claims for equitable subordination of both the

  Debtor and Dalio because both fail to articulate any harm caused to the Debtor or its

  unsecured creditors. As this is a vital element of a claim for equitable subordination,

  the court should dismiss these claims under Rule 12(b)(6).

         The elements of equitable subordination in the Fifth Circuit are: (1) the

  claimant must have engaged in inequitable conduct; (2) the misconduct must have

  resulted in injury to the creditors or conferred an unfair advantage to the claimant;

  and (3) equitable subordination of the claim must not be inconsistent with the

  provisions of the Bankruptcy Code. See Wooley v. Faulkner (In re SI Restructuring,

  Inc.), 532 F.3d 355, 360 (5th Cir. 2008). Although this may appear broad on its face,

  the Fifth Circuit has been circumspect in its application. Indeed, the Fifth Circuit

  has largely confined equitable subordination to three general paradigms: (1) when a

  fiduciary of the debtor misuses his position to the disadvantage of other creditors; (2)

  when a third party controls the debtor to the disadvantage of other creditors; and (3)

  when a third party actually defrauds other creditors. Matter of U.S. Abatement Corp.,

  39 F.3d 556, 561 (5th Cir. 1994)

         Further, “[e]quitable subordination is remedial, not penal, in nature, and in

  the absence of actual harm, equitable subordination is inappropriate.” Id. at 361.

  Equitable subordination does require some level of actual harm to the Debtor

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  and its unsecured creditors. See id. at 361-62; see also Smith v. Assocs. Comm.

  Corp. (In re Clark Pipe & Supply Co., Inc.), 893 F.2d 693, 700 (5th Cir.

  1990)(emphasis added). Indeed, the Fifth Circuit has repeatedly limited equitable

  subordination claims by narrowly tailoring the remedy to the extent of the alleged

  injury. In re SI Restructuring, Inc., 532 F.3d at 360–61. “[A] claim should be

  subordinated only to the extent necessary to offset the harm which the debtor or its

  creditors have suffered as a result of the inequitable conduct.” Id. (citing Benjamin v.

  Diamond (In re Mobile Steel Co.), 563 F.2d 692, 701 (5th Cir.1977).

          The Defendants’ counterclaims for equitable subordination first fail because

  they fail to allege any actual harm to the Debtor or its unsecured creditors. The

  Defendants contend that WCW acquired secured debt against the Debtor’s property

  and then attempted to foreclose on the Debtor’s property. See Debtor’s Counterclaim

  ¶ 72; see also Dalio’s Counterclaim ¶ 15. The Defendants further contend that WCW

  offered an inflated payoff amount during its attempt to foreclose. Id.

          This fails to establish any harm to the Debtor or its unsecured creditors. All

  the Defendants have alleged is that WCW acquired a secured debt (the “ASI Debt”)

  from a third-party Architectural Services International, LLC (“ASI”), and then sought

  unsuccessfully to foreclose on this debt. But this transfer of a claim from one party

  to another does not change the amount owed only to whom it is owed. Put another

  way, after WCW acquired the ASI debt, the Debtor owed to WCW what it previously

  owed to ASI. This simple transfer causes no injury to the Debtor or its creditors.




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         The Defendants next allege that WCW posted the Debtor’s property for

  foreclosure and then demanded more than the amount owed on the ASI Debt. But

  the Defendants fail to establish any harm that occurred from this alleged conduct.

  The Defendants do not allege that the Debtor paid WCW more than it owed; indeed,

  they do not allege the Debtor paid any amount to WCW. Nor do they allege that

  WCW foreclosed on the Debtor’s property or that the Debtor could have paid off this

  secured claim had WCW demanded what was actually owed. In short, the Defendants

  allege behavior of WCW that could have caused harm had WCW actually foreclosed,

  but they entirely fail to plead that WCW’s unsuccessful attempt to foreclose caused

  the Debtor any harm whatsoever.

         The Defendants’ counterclaims further fail because it does not set forth any of

  the circumstances in which the Fifth Circuit has permitted equitable subordination

  of a claim. The Defendants do not allege WCW was a fiduciary of the Debtor who

  misused it position. They do not allege that WCW controlled the Debtor to the

  disadvantage of other creditors or that WCW actually defrauded other creditors.

  Instead, the Defendants do no more than allege that WCW purchased the ASI Debt

  and then attempted (unsuccessfully) to foreclose for more than the amount owed. As

  these facts fail to establish the types of inequitable conduct that justify equitable

  subordination, the court should dismiss these claims.

  VI.        The court should dismiss Dalio’s claim for equitable subordination
             because it lacks standing to assert a claim for a general injury to
             the Debtor or its unsecured creditors.

         The court should dismiss Dalio’s claim for equitable subordination because it

  alleges, at most, a general injury to the Debtor, and Dalio lacks standing to seek

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  subordination for general harm to the Debtor rather than specific harm caused to

  itself.

            The Fifth Circuit has repeatedly limited equitable subordination claims by

  narrowly tailoring the remedy to the extent of the alleged injury. In re SI

  Restructuring, Inc., 532 F.3d at 360–61. Based on this jurisprudence, a court cannot

  afford a general subordination remedy for a subordination claim based on

  individualized injuries or an individualized subordination remedy for a subordination

  claim based on general injuries. In re Andrews, No. 94-21308, 2009 WL 1076831, at

  *7 (Bankr. S.D. Tex. Apr. 2, 2009). Thus, courts agree that a creditor asserting

  equitable subordination must have suffered some particularized injury to satisfy the

  standing requirement. In re Waggoner Cattle, LLC, No. 18-20126-RLJ-11, 2019 WL

  469367, at *8 (Bankr. N.D. Tex. Feb. 6, 2019).

            Dalio’s counterclaim fails to plead any particularized injury, and thus Dalio

  lacks standing to assert that claim. Indeed, Dalio does not allege that it suffered any

  injury whatsoever in its counterclaims. Dalio does contend that WCW made an offer

  to purchase its property. This is likely in error, as the rest of its pleadings recognize

  that the Debtor owns real property and Dalio has a first priority lien against that

  property. Regardless, Dalio does not allege that it suffered any injury from WCW’s

  conduct, and it is further difficult if not impossible to conceive how any act of WCW,

  as the holder of a lien junior to that held by Dalio, could harm Dalio in any way.

  Accordingly, Dalio has failed to plead facts sufficient to establish standing. The court

  should therefore dismiss Dalio’s equitable subordination claim under Rule 12(b)(1).



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                                       Conclusion

         Based on the foregoing, WCW Houston Properties, LLC requests that the court

  enter an order 1) dismissing each of the Defendants’ counterclaims; and 2) granting

  WCW all other relief to which it is justly entitled.

  Dated: January 6, 2025                         Respectfully submitted,

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                                                 ATTORNEYS FOR WCW
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                             CERTIFICATE OF SERVICE

        On January 6, 2025, I served a true and correct copy of the foregoing through
  the court’s ECF system to the service list below.

                                                 /s/ Eric Terry
                                                 Eric Terry

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